   
 

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSE
EASTERN DIVISION

UNITED STATES OF AMERICA

vs CR NO. 1104-10061-02-T

RICKY PICKARD

AMENDED ORDER ON CHANGE OF PLEA
This cause came on to be heard on February 25, 2005 , Assistant U. S. Attorney,
Jerry Kitchen, appearing for the government, and the defendant appeared in person
and with counsel, M. Dianne Smothers, Who Was appointed..
With leave of the Court, the defendant withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Counts lS of the Superceding Indictment.

This case has been set for sentencing on Tuesdav. Mav 24j 2005. at 8:30

The defendant is remanded to the custody of the United States Marshal.

JA%LMAM

S D. TODD
ED STATES DISTRICT JUDGE

DATE: /(/ YW\»¢ M~S/

lT IS SO ORDERED.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 177 in
case 1:04-CR-10061 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

